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November l, 2017
Richard A. Barkasy
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VIA ELECTRONIC FILING

The Honorable Richard G. Andrews
United States District Court

J. Caleb Boggs Federal Building
844 North King Street, Unit 9
Wilmington, DE 19801-3555

Re: American Cmise Lines, Inc. v HMS American Queen Steamboat
Company LLC et al,' Case No. 13-324 (RGA); _M
American Cruise Lines, Inc. v. American Queen Steamboat Operating
Company, LLC, Case No. 17-1528 (RGA)

Dear Judge Andrews:

We write to you regarding the letter sent by Ms. Graham concerning the lawsuit against
our client, HMS American Queen Steamboat Company et al, recently filed by American Cruise
Lines. Ms. Graham’s letter is an improper argument submitted to the Court without necessity or
authorization

lt is unfortunate that counsel for ACL accuses HMS of continued “hi]'acking” of
American Cruise Lines’ alleged goodwill. Our client stands by its unique services and offerings
and has continued to emphasize as such in its marketing Our client’s success in the market has
nothing to do with ACL. Our client just recently earned the prestigious Travvy Award in 2017
for the Best River Cruise Line in the United States and has been ranked in the top 10 and 20 of
worldwide cruise lines for its offerings and services (by Ocean & Cruise News). Our client
consistently receives higher ratings than ACL on review sites such as Cruise Critic. By contrast,
ACL was just named one of the “12 Worst Cruise Lines in the World” online. HMS has no
interest in being associated with or “hijacking” what many consider to be one of the worst cruise
line operators in the world.

As to this new lawsuit, despite our firm belief that the claims asserted by ACL are
meritless, HMS has offered to remove the alleged offending material from its marketing in order
to resolve this situation without further litigation

Schnader Harrison Sega| & Lewis LLP

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ATTORNEYS AT LAW

The Honorable Richard G. Andrews
November 1, 2017
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Our hope is that this matter is resolved in short order.
Respectfully yours,
/s/ Richard A. Barksy

Richard A. Barkasy
For SCHNADER HARRISON SEGAL & LEWIS LLP

cc: Clerk of the Court (by overnight mail)
Counsel of Record (by CM/ECF and email)

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